      Case 1:18-cv-03145-RMC Document 12 Filed 06/12/19 Page 1 of 1




  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                         CIVIL DIVISION

BENHUR TESFALIDET, et al.,          )
                                    )
            Plaintiffs,             )
                                    )
      v.                            )                Civil Action No. 18-cv-03145 RMC
                                    )
DANIEL HERNANDEZ, et al.,           )
                                    )
            Defendants.             )
____________________________________)

                       NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs

Benhur Tesfalidet, et al. (collectively “Plaintiffs”) voluntarily dismiss without prejudice

the above-captioned action against all Defendants. This notice of dismissal is being filed

with the Court before service of either an answer or a motion for summary judgment by

any Defendant. The undersigned counsel obtained consent from counsel for Defendants

Steve and Tashea Ferguson, and attempted to obtain consent from counsel for Defendant

iHeartRadio through both telephone and email correspondence over the course of several

days. At the time of filing, counsel for Defendant iHeartRadio had yet to respond to

Plaintiffs’ request.

                                                     Respectfully submitted,


                                                     ______/s/______________
                                                     Donald M. Temple #408749
                                                     1310 L Street, NW, Suite 750
                                                     Washington, D.C. 20005
                                                     Tel: (202) 628-1101
                                                     dtemplelaw@gmail.com
                                                     Counsel for Plaintiffs



                                            1
